Tet

Case 1:14-cv-00648-TCB Document 89-2 Filed 04/29/15 Page 1 of 1 PagelD# 1303

IN THE UNITED STATES DISTRICT COURT {il | /
FOR THE EASTERN DISTRICT OF VIRGINIA |* | APR 21°
(Alexandria Division)

JODI C. MAHDAVI,

Plaintiff

Vv.

NEXTGEAR CAPITAL, INC., Case No. 1:14-cv-0648- TCB
Defendant.

/

PLAINTIFF’S TRIAL EXHIBITS INDEX
Y. ~ I) Retail Purchase Agreement between Baltimore Washington Auto Outlet

and Jodi Mahdavi dated March 11,2014 - J. WAHDAV/
J e 2) Bank of America account statement for account ending in 2476 for
February 20, 2014 through March 20, 2014 4M Art DAV!
J o 3) Promissory Note between Pentagon Federal Credit Union and Jodi
Mahdavi dated April 16,2014 3. MAHDAVI
/. 4) Pentagon Federal Credit Union check number 0002877274 dated April 16,
2014 in the amount of $64,941.70 payable to BW Auto Outlet and Jodi C. Mahdavi J. Mahday,
/ o 65) Pentagon Federal Credit Union account statements for account ending in
7813, April 2014 through May 2014 OD. MAHDAVI
/ 6) Maryland Title Number 45565166 OQ. Attp AV)

“oa 7) Merchant’s Tire Receipt dated April 22,2014 JT, MAuDANV I
Ouct of Sac ve Coo ner Depoat wile

. _ Br\a fo- Beto hute Broker
~ 9) Bork Stetewesd all to als |it G Bate Sm. ley

